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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            WACO DIVISION

DANIELLE PIERCE,                       §
Plaintiff                              §
                                       §     CIVIL ACTION NO. 6:10-cv-00291
vs.                                    §
                                       §     Jury Trial Demanded
TOLTECA ENTERPRISES, INC.              §
DBA PHOENIX RECOVERY                   §
GROUP,                                 §
Defendant                              §


                            ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

                                 NATURE OF ACTION

      1.      This is an action for damages brought by an individual plaintiff for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices.

      2.      Plaintiff seeks to recover monetary damages for Defendant’s violation

of the FDCPA, the TDCPA and the DTPA, and to have an Order or injunction

issued by this Court preventing Defendants from continuing its violative behaviors.

      3.      Service may be made upon Defendant in any other district in which it
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may be found pursuant to 29 U.S.C. §1132(e)(2).

                             JURISDICTION AND VENUE

       4.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28

U.S.C. § 1331, and 28 U.S.C. § 1337.

       5.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendant transacts

business in this district.

                                       PARTIES

       6.      Plaintiff, Danielle Pierce (“Plaintiff”), is a natural person residing in

McLennan County.

       7.      Plaintiff is a consumer as defined by the FDCPA, 15 U.S.C. §

1692a(3) and the Texas Business and Commerce Code section §17.50(a)(1) and

Texas Finance Code §392.001(1).

       8.      Defendant, Tolteca Enterprises, Inc. dba Phoenix Recovery Group

(“Defendant”) is an entity who at all relevant times was engaged, by use of the

mails and telephone, in the business of attempting to collect a “debt” from

Plaintiff, as defined by 15 U.S.C. §1692a(5) and by Tex. Fin. Code Ann. §

392.001(6).

       9.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6)
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and by Tex. Fin. Code Ann. § 392.001(2).

                           FACTUAL ALLEGATIONS

      10.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

      11.    Plaintiff's obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendant, arises from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes and Plaintiff

incurred the obligation, or alleged obligation, owed or due, or asserted to be owed

or due a creditor other than Defendant.

      12.    Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

      13.    Defendant, in connection with an alleged debt, contacted Plaintiff

Danielle Pierce’s former mother-in-law on multiple occasions, for purposes other

than obtaining location information, and at such time, disclosed to said individual

that the Plaintiff owed an alleged debt.       (15 U.S.C. §§ 1692b(2), 1692b(3),

1692c(b)).

      14.    Defendant demanded payment from Plaintiffs in the amount of
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$1091.97, when in fact, Plaintiffs do not owe such amount to Defendant, and the

amount is presently disputed and in litigation. (15 U.S.C. §§ 1692e(2)(A)).

      15.   Defendant threated to initiate litigation against Plaintiffs, an action

Defendant did not intend to take, or could not legally take. (15 U.S.C. § 1692e(5)).

      16.   Defendant, in correspondence dated July 20, 2010, threatened to

report, and that it had reported, credit information that it knew what disputed, and

which it should have known to be false. (15 U.S.C. § 1692e(8)).

      17.   Defendant’s actions constitute conduct highly offensive to a

reasonable person, and as a result of Defendant’s behavior Plaintiff suffered and

continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental aguish and/or emotional distress.

      18.   As a result of the above violations of the FDCPA, Plaintiff suffered

and continues to suffer personal humiliation, embarrassment, mental anguish and

emotional distress, and Defendants are liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.

                               COUNT I--FDCPA

      19.   Plaintiff repeats and re-alleges each and every allegation contained

above.

      20.   Defendant’s aforementioned conduct violated the FDCPA.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:
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      a) Adjudging that Defendant violated the FDCPA;

      b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

         in the amount of $1,000.00;

      c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

      d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

         this action;

      e) Awarding Plaintiff any pre-judgment and post-judgment interest as

         may be allowed under the law;

      f) Awarding such other and further relief as the Court may deem just and

         proper.

                            COUNT II--TDCPA

21.      Plaintiff repeats and re-alleges each and every allegation above.

22.      Defendant violated the Texas Debt Collection Practices Act in one or

more of the following ways:

      a. Misrepresenting the character, extent, or amount of a consumer debt,

         or misrepresenting the consumer debt's status in a judicial or

         governmental proceeding (Tex Fin Code § 392.304(a)(8));

      b. Using false representations or deceptive means to collect a debt or

         obtain information concerning a consumer, including (Tex Fin Code §

         392.304(a)(19)).
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      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            a) Adjudging that Defendant violated the TDCPA;

            b) Awarding Plaintiff statutory damages pursuant to the TDCPA;

            c) Awarding Plaintiff actual damages pursuant to the TDCPA;

            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                    COUNT III—DTPA

      23.      Plaintiff reincorporates by reference herein all prior paragraphs above.

      24.      This suit is brought, in part, under the authority of Tex. Bus. & Com.

Code § 17.41 et seq., commonly known as the Deceptive Trade Practices and

Plaintiff Protection Act and cited in this petition as the “DTPA”.

      25.      Defendant was given notice in writing of the claims made in this

Petition more than sixty days before this suit was filed in the manner and form

required by DTPA §17.505 (a).

      26.      Defendant made numerous material misrepresentations in an attempt

to collect the purported consumer debt as detailed above.
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        27.   Defendant knew or should have known that its representations were

false and/or acted in reckless disregard for the truth or falsity of its representations.

        28.   Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiff.

        29.   Defendant’s actions as detailed above constitute a violation of the

Texas Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

        30.   The conduct described above has been and is a producing and

proximate cause of damages to Plaintiff. Plaintiff’s damages include: Statutory

damages of at least $100.00 per violation, actual/economic damages, emotional

and/or mental anguish damages, exemplary/punitive damages, and Plaintiff’s

attorneys’ fees and costs.

        31.   Additionally, Plaintiff seeks an award of discretionary additional

damages in an amount not to exceed three times the amount of economic damages

if Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendants’ conduct is found to have been committed intentionally.

        32.   Plaintiff seeks reasonable and necessary attorney’s fees in this case

through the time judgment is entered and for any post-trial or post-judgment

appeals, to be detailed through a statement of services submitted at the appropriate

time.
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WHEREFORE, Plaintiff prays for relief and judgment as follows:

(a)   a declaratory judgment be entered that Defendant’s conduct violated

the DTPA;

(b)   an    award     for      all   actual   damages,   exemplary     damages,

emotional/mental anguish damages and all statutory additional damages, all

attorneys fees, costs of court, and pre-judgment and post-judgment interest

at the highest lawful rates.

(c)   an award of discretionary additional damages in an amount not to

exceed three times the amount of economic damages if Defendant’s conduct

is found to have been committed knowingly; or an amount not to exceed

three times the amount of economic and mental anguish damages if

Defendant’s conduct is found to have been committed intentionally.

(d)   such other and further relief as may be just and proper.

                            TRIAL BY JURY

33.   Plaintiff is entitled to and hereby demands a trial by jury.

                                          Respectfully submitted,


                                          By: /s/ Dennis R. Kurz
                                          Dennis R. Kurz
                                          Texas State Bar # 24068183
                                          Attorney in Charge for Plaintiff
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                         CERTIFICATE OF SERVICE


I certify that on October 12, 2010, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Western District of Texas, Waco
Division, using the electronic case filing system of the court.


                                                          /s/ Dennis R. Kurz
                                                          Dennis R. Kurz
